                         UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN - MILWAUKEE DIVISION

 JOHN DOE,

                           Plaintiff,

         v.                                                       Case No. 2:19-cv-00388-JPS

 MARIAN UNIVERSITY,

                           Defendant.


                 DEFENDANT’S MOTION FOR SUMMARY JUDGMENT


       NOW COMES the Defendant, Marian University, by its attorneys, Axley Brynelson, LLP,

by Attorneys Lori M. Lubinsky and Danielle Baudhuin Tierney, and hereby moves the Court

pursuant to Federal Rule of Civil Procedure 56, for summary judgment in favor of Defendant. This

Motion for Summary Judgment is supported by the accompanying Brief in Support of Defendant’s

Motion for Summary Judgment, Defendant’s Proposed Findings of Fact, supporting declarations, and

the pleadings of record.

       Dated this 15th day of October, 2019.


                                               s/ Danielle Baudhuin Tierney
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